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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMALE KEOVILAY
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,      )
10                                  )     Cr.S. 09-222-GEB
                     Plaintiff,     )
11                                  )     STIPULATION AND ORDER
               v.                   )
12                                  )
     KHAMALE KEOVILAY, et al.,      )     DATE: April 30, 2010
13                                  )     TIME: 9:00 a.m.
                     Defendants.    )     JUDGE: Hon. Garland E. Burrell
14                                  )
     __________________________     )
15
16
          It is hereby stipulated and agreed to by the United States of
17
     America through HEIKO P. COPPOLA, Assistant United States Attorney, and
18
     TODD D. LERAS, Assistant United States Attorney, defendant, KHAMALE
19
     KEOVILAY, by and though his counsel, DENNIS S. WAKS, Supervising
20
     Assistant Federal Defender, defendant, DAVID CHENG by and through his
21
     attorney, ALICE W. WONG, defendant MINGH THAM, by and through his
22
     attorney MICHAEL B. BIGELOW, defendant LONG NGUYEN, by and through his
23
     attorney, CHRISTOPHER H. WING, defendant, TUAN DAO, by and through his
24
     attorney MICHAEL L. CHASTAINE, and defendant DUNG NGUYEN, by and
25
     through his attorney MICHAEL D. LONG, that the status conference set
26
     for Friday, March 12, 2010, be continued to a status conference on
27
     Friday, April 30, 2010, at 9:00 a.m.
28
           Case 2:09-cr-00222-TLN Document 119 Filed 03/12/10 Page 2 of 3


1         This continuance is being requested because defense counsel needs
2    additional time to prepare, to review discovery, and to interview
3    witnesses.   The parties have received a large amount of discovery and
4    have been advised that more is coming, including the Title III
5    documents.
6         Furthermore, the parties stipulate and agree that the interest of
7    justice served by granting this continuance outweighs the best interest
8    of the public and the defendant in a speedy trial.          (18 U.S.C. §
9    3161(h)(7)(A)).
10        Speedy trial time is to be excluded from the date of this order
11   through the date of the status conference set for April 30, 2010,
12   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
13   (Local Code T4).
14                                     Respectfully submitted,
                                       DANIEL J. BRODERICK
15                                     Federal Defender
16   DATED: March 9, 2010              /S/ Dennis S. Waks
17                                     DENNIS S. WAKS
                                       Supervising Assistant Federal Defender
18                                     Attorney for Defendant
                                       KHAMALE KEOVILAY
19
     DATED: March 9, 2010
20
                                       /s/ Dennis S. Waks for
21
                                       ALICE W. WONG, Attorney for
22                                     DAVID CHENG
23
     DATED: March 9, 2010
24                                     /s/ Dennis S. Waks for
25                                     MICHAEL B. BIGELOW, Attorney for
                                       MINH THAM
26
     DATED: March 9, 2010
27                                     /s/ Dennis S. Waks for
28                                     CHRISTOPHER H. WING, Attorney for
                                       LONG NGUYEN

                                             2
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1
     DATED: March 9, 2010
2                                         /s/ Dennis S. Waks for
3                                         MICHAEL L. CHASTAINE, Attorney for
                                          TUAN DAO
4
5
6    DATED: March 9, 2010                 /s/ Dennis S. Waks for
7                                         MICHAEL D. LONG, Attorney for
                                          DUNG NGUYEN
8
9                                         BENJAMIN B. WAGNER
                                          United States Attorney
10
11   DATED: March 9, 2010                 /s/ Dennis S. Waks for
12                                        HEIKO P. COPPOLA
                                          Assistant U.S. Attorney
13
                                          /s/ Dennis S. Waks for
14
                                          TODD D. LERAS
15                                        Assistant U.S. Attorney
16
                                          O R D E R
17
18                IT IS SO ORDERED.
19   Dated:     March 11, 2010
20
21                                        GARLAND E. BURRELL, JR.
22                                        United States District Judge

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